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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KENT EUBANK, JERRY DAVIS, RICKY
FALASCHETTI, RITA CICINELLI,
ROBERT JOSEPHBERG, JEFFREY ACTON,
KENNETH HECHTMAN, JAMES NEIMAN,
AMY CHASIN and EDWARD RUHNKE,
individually and on behalf of all others               No.: 06 C 4481
similarly situated;
                                                       Honorable Sharon Johnson Coleman
                                    Plaintiffs,
                                                       Class Action
         v.
                                                       UNOPPOSED MOTION
PELLA CORPORATION, an Iowa corporation,
and PELLA WINDOWS AND DOORS, INC.,
a Delaware corporation,

                                  Defendants.


                   UNOPPOSED MOTION FOR ENTRY OF JUDGMENT

         On March 15, 2019, the Court entered its Memorandum Decision and Order [Docket

770] and Order Finally Approving Class Settlement, Certifying Settlement Class, Approving

Service Awards For The Class Representatives, Awarding Attorneys’ Fees, Costs And Expenses

and Other Relief [Docket 771], and in doing so adjudicated all claims and rights of all parties on

the merits and with prejudice, ending the action with finality.

         Pella Corporation and Pella Windows and Doors, Inc. (jointly “Pella”) hereby move this

Court pursuant to Fed. R. Civ. P. 58(d) for an order entering Judgment as provided by Rule

58(a), and retaining jurisdiction of this matter for the purposes of enforcing the terms of the

Court’s Order Finally Approving Class Settlement, Certifying Settlement Class, Approving

Service Awards For The Class Representatives, Awarding Attorneys’ Fees, Costs And Expenses




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and Other Relief [Docket 771]. Pella has consulted with Plaintiffs’ Counsel and this motion is

unopposed. The motion is further based on all the files, records and pleadings herein.

                                             Respectfully submitted,

 Dated: April 25, 2019                       FAEGRE BAKER DANIELS LLP


                                             /s/ John A. Roberts
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                                             ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Unopposed Motion For
Entry of Judgment was electronically filed with the Clerk of the Court and served on all
counsel of record via the Court’s CM/ECF electronic filing system on the 25th day of April,
2019.


                                           /s/ John A. Roberts




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